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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                             CASE NO.: 4:06cr48-SPM

DAKOTA HARRIS, JR.,
JASON SHOATES,
CORPUS BUTLER,
ERIKA WILSON, et al.,

           Defendants.
___________________________/

                        ORDER CONTINUING SENTENCING

      Upon consideration, the motions filed by Defendants Harris, Shoates,

Butler, and Wilson (docs. 148-52) are granted. Sentencing for these defendants

is reset for 1:30 p.m. on April 23, 2007 at the United States Courthouse in

Tallahassee, Florida.

      SO ORDERED this 15th day of February, 2007.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
